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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-6 (TJK)
               v.                             :
                                              :
DOUGLAS AUSTIN JENSEN,                        :
                                              :
                       Defendant.             :


                            STIPULATION OF THE PARTIES

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Douglas Austin Jensen, with by and though his

attorney, agree and stipulate to the following:

                               The Capitol Building and Grounds

        By law, the U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Only authorized people with

appropriate identification are allowed access inside the Capitol. Restrictions around the Capitol

building and grounds include permanent and temporary security barriers and posts manned by

USCP.

        On January 6, 2021, the Capitol was closed to the public and accessible by only those with

credentialed access or their guests. The security barriers in place that day included bike racks that

were positioned to the north of the U.S. Capitol along Constitution Avenue; to the south of the

U.S. Capitol along Independence Avenue; to the west of the U.S. Capitol along First Street on the

eastern side of that street (West Front); and, on the east side of the U.S. Capitol, between the

Capitol Plaza (East Front) and the grassy areas located between the Plaza and First Street. Within

the West Front of this restricted area there were additional temporary barriers due to preparations


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and ongoing construction for the Inauguration which was scheduled for January 20, 2021,

including green snow fencing and signs stating “Area Closed By order of the United States Capitol

Police Board.”

       On January 6, 2021, the restricted area described above, and as depicted in Exhibit 601A,

was a posted, cordoned off, or otherwise restricted area where the Vice President and members of

his immediate family were and would be temporarily visiting, and therefore constituted a

“restricted building and grounds” as that term is used in Count Four.

                         The Certification of the Electoral College Vote

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in both the House and Senate chambers of the Capitol

to certify the vote count of the Electoral College of the 2020 Presidential Election, which had taken

place on Tuesday, November 3, 2020.

       On January 6, 2021, the House of Representatives began its session at approximately 12:00

p.m., the Senate began its session at approximately 12:30 p.m., and the two Houses met together

at approximately 1:00 p.m. in the House of Representatives chamber to begin the joint session.

Vice President Mike Pence was in the Capitol building and presiding over the joint session. At

approximately 1:15 p.m., the House and Senate adjourned to their separate chambers for up to two

hours to resolve a particular objection.

       At approximately 2:12 p.m., Vice President Pence evacuated the Senate chamber, and

approximately one minute later the senator who had become the presiding officer in Vice President

Pence’s absence declared that the Senate would stand in recess. Senators evacuated the Senate

chamber.


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       At approximately 2:15 p.m., Speaker Nancy Pelosi, who was presiding over the House of

Representatives, evacuated the House chamber, and approximately fifteen minutes later the

representative who had become the presiding officer in her absence declared that the House would

stand in recess. Representatives evacuated the House chamber.

       The joint session was suspended.

       The Senate and House resumed meeting at approximately 8:06 p.m. and 9:02 p.m.,

respectively. Congress’s joint session continued until approximately 3:44 a.m. on January 7, 2021,

when it completed the certification of the Electoral College vote.

       The certification of the vote count of the Electoral College was an “official proceeding” as

that term is used in Count Two. It also amounted to “Government business and official functions”

as those terms are used in Count Five. Finally, the certification of the vote count of the Electoral

College was a “session of Congress or either House of Congress,” and a “hearing before, or any

deliberation of, a committee of Congress or either House of Congress,” as those terms are used in

Count Six.

                                  Federally Protected Function

       A “federally protected function,” as that term is used in Count One, includes the United

States Capitol Police’s protection of the U.S. Capitol and the Capitol grounds and the United States

Secret Service’s protection of the Vice President of the United States and immediate family

members of the Vice President.

                 United States Capitol Police Closed Circuit Video Monitoring

       The United States Capitol Police (USCP) operate and maintain closed-circuit video

monitoring and recording equipment that captures locations inside and outside of the U.S. Capitol

building and on the Capitol grounds. The video equipment timestamps each recording with the

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date and time at which the footage is captured. The USCP-controlled video equipment was in

good working order on January 6, 2021, and video footage recovered from the cameras and

equipment with the timestamp of January 6, 2021, is footage from January 6, 2021. The events

depicted in the video footage are a fair and accurate depiction of the events at the U.S. Capitol on

January 6, 2021, the timestamps on the recordings are accurate, and the video footage was not

altered or edited in any way. The video footage is authentic in that it is what it purports to be.

          Metropolitan Police Department Video Monitoring by Body-Worn Cameras

       The Metropolitan Police Department of the District of Columbia (MPD) operate and

maintain body-worn cameras (BWC) that capture video recordings of its officers’ activities and

surroundings. The video equipment timestamps each recording with the date and time at which

the footage is captured, and a code identifying the camera number which can be used to identify

the officer assigned that camera on a particular day. The MPD BWC equipment was in good

working order on January 6, 2021, and video footage recovered from the cameras and equipment

with the timestamp of January 6, 2021, is footage from January 6, 2021. The events depicted in

the video footage are a fair and accurate depiction of the events at the U.S. Capitol on January 6,

2021, the timestamps on the recordings are accurate, and the video footage was not altered or

edited in any way. The video footage is authentic in that it is what it purports to be.

                                  Police Radio Communications

       Law enforcement agencies, including the U.S. Capitol Police (USCP) and U.S. Secret

Service (USSS), operate and maintain radios that allow officers to communicate with one another

and with others while performing their duties. The equipment includes various radio channels, and

sometimes allows users to transmit or listen across multiple channels simultaneously. The

recordings from these radio communications on January 6, 2021, are accurate, and the audio record

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was not altered or edited in anyway. The audio files are authentic in that they are what they purport

to be. Specifically, the parties agree that the USCP radio recordings at Exhibit 150, and the USSS

radio recordings at Exhibit 528, are authentic recordings of those respective radio transmissions.

                       Videos and Photographs Recorded by Third Parties

       Individuals who were present at the U.S. Capitol building and on Capitol grounds also

recorded videos and took photographs. Many of these videos and photos are publicly available

and show the same events recorded by USCP-controlled video equipment. The following videos

and photographs identified by the government by exhibit number are all fair and accurate

depictions of the events at the U.S. Capitol on January 6, 2021, and are authentic in that they are

what they purport to be:

       Exhibit 500 - Video taken from vantage point outside of U.S. Capitol building on West
                     lawn, identified as S.C.N.R. with filename SCNR screenrecording.wmv
       Exhibit 501 - Video taken from vantage point outside of U.S. Capitol building on Capitol
                     steps, identified as “Insurgence USA,” with filename Insurgence USA long
                     -- Full Video Trump Supporters Storming The Capitol.mp4
       Exhibit 502 - Video taken from vantage point outside of U.S. Capitol building on Upper
                     West Terrace, identified as BG On the Scene, with filenames 089B-WF-
                     3376790_0000024_Import.mov and/or BGOnTheScene 11_11-12_49.mp4
       Exhibit 503 - Video taken from vantage point on an upper floor of U.S. Capitol building
                     of Upper West Terrace, with filename Gjy5pIQ5zlkE.mp4
       Exhibit 504 - Video taken from vantage point of outside, then inside, the U.S. Capitol
                     building near Senate Wing Doors, identified as ProPublica, with filename
                     ProPublica Entrance Video.mp4
       Exhibit 505 - Video taken from vantage point of inside the U.S. Capitol building first and
                     second floors, identified as Igor Bobic or Huffington Post, with file name
                     IgorBobicGoodmanChase.mp4
       Exhibit 506 - Video taken from vantage point inside the U.S. Capitol building, second
                     floor, with filename PV4HTOSRVJ40.mp4
       Exhibit 507 - Video taken from vantage point inside the U.S. Capitol building, second
                     floor, identified as RMG News, available at https://www.youtube.com/
                     watch?v=V-fkunG5J6k

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      Exhibit 526 - Video compilation of third-party videos in sync with security cameras
                    showing vantage points both inside and outside the U.S. Capitol building,
                    with demonstrative maps, first and second floor, available at
                    https://www.youtube.com/watch?v=quTbyIV4h7M&t=282s
      Exhibit 528 - Video compilation consisting of video and taken vantage point inside the
                    U.S. Capitol building first and second floors, also including U.S. Capitol
                    Police Closed-Circuit Video and U.S. Secret Service radio transmissions.
      Exhibits 530, 531, 532, 533, 534, and 535 – Video recovered from the cell phone of
                    defendant Albert Ciarpelli, D.D.C. case no. 21-mj-00038, including file
                    names IMG_1577.mov through IMG_1584.mov
      Exhibit 551 - Video taken from vantage point then inside, the U.S. Capitol building east
                    Rotunda entrance, identified as TruNews, available online at
                    https://ia804506.us.archive.org/7/items/8cDxjwRmduZaJmqDR/15_15_E
                    W_Driver_Goggles_D.mpeg4
      Exhibit 552 - Video taken from vantage point inside the U.S. Capitol building east
                    Rotunda foyer, identified as Getty Images Video, available online at
                    https://www.gettyimages.fr/detail/vid%C3%A9o/donald-trump-supporters-
                    storm-the-united-states-film-dactualit%C3%A9/1295317197
      Exhibit 553 - Video taken from vantage point outside, then inside, the U.S. Capitol
                    building east Rotunda entrance, from defendant Damon Beckley, D.D.C
                    case no. 21-cr-00285-JEB, with filename Beckley – VID_20210106
                    _151632100.mp4
      Exhibits 510, 512, 513, 514, 515, and 516 - Photographs taken from vantage point inside
                     the U.S. Capitol building Ohio Clock Corridor, identified as Getty Images,
                     Associated Press photos, and others, with the filenames:
                            • gettyimages-1230453186-2048x2048.jpg
                            • gettyimages-1230453310-2048x2048.jpg
                            • gettyimages-1230453493-2048x2048.jpg
                            • IMG_0047.jpeg
                            • IMG_0049.JPG
                            • IMG_0051.JPG

      Exhibit 580 - A still frame from video taken at the National Mall on January 6, 2021,
                    during the “Stop the Steal” rally


                    Authenticity and Foundation of Electronic Evidence

      On and leading up to January 6, 2021, Doug Jensen was in possession of and used an Apple

iPhone X associated with the telephone number (515) 306-4353.         The Federal Bureau of


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Investigation generated a digital image of Jensen’s cell phone, which is an exact and accurate

duplicate of the data contained on the phone. The data, including message logs and content,

images, videos, and other records, obtained from the extraction of Jensen’s cell phone and from

that image, is authentic and the parties stipulate to the foundation that this data was recovered from

the cell phone used by Doug Jensen. The parties stipulate to the authenticity and foundation of the

photos and videos at Exhibits 331 through 355, which are user-generated files created by Jensen’s

iPhone X. The parties stipulate that the text messages summarized in Exhibits 321 through 325

are accurate summaries of text message data found on Jensen’s phone.

       On and leading up to January 6, 2021, Doug Jensen operated a Facebook account with the

username DAJeeper, under the display name “Doug Jensen.”               Subscriber records, account

information, posts, comments, and correspondence to and from this account provided by Facebook

(operated by Meta Platforms, Inc.) are true and accurate records of Doug Jensen’s account and

correspondence. The parties stipulate to the authenticity and foundation of the posts and messages

contained in Exhibits 380 through 384, which come from Jensen’s Facebook account.

       On and leading up to January 6, 2021, Doug Jensen operated a Twitter account with the

username @DAJeeper and the display name “Doug Jensen.”                 Subscriber records, account

information, posts, comments, and correspondence to and from this account provided by Twitter

are true and accurate records of Doug Jensen’s account and correspondence.

                       Authenticity and Foundation of Physical Evidence

       Throughout the day on January 6, 2021, Doug Jensen had in his possession a pocket knife.

He brought the same knife to the Des Moines Police Department on January 8, 2021. This knife

was later obtained by the FBI and secured in evidence storage as Item number 1B2, designated




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